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 4
     Attorney for Defendant
 5   RACHEL SIDERS

 6

 7

 8                                   IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                         CASE NO. 2:11-CR-00210 JAM
11
                        Plaintiff,                     DEFENDANT’S WAIVER OF
12                                                     APPEARANCE
             v.
13
     RACHEL SIDERS,
14
                        Defendant.
15

16           Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant, Rachel Siders,

17   hereby waives the right to be present in person in open court upon the hearing of any motion or

18   other proceeding in this case, including, but not limited to, when a continuance is ordered, and

19   when any other ministerial action is taken by the court. This waiver does not relieve defendant

20   from being present for arraignment, plea, impanelment of jury, trial and imposition of sentence.

21           Defendant hereby requests the Court to proceed during every absence which the Court

22   may permit pursuant to this waiver; agrees that defendant's interests will be deemed represented

23   at all times by the presence of the defendant's attorney, the same as if the defendant were

24   personally present; and further agrees to be present in court ready for trial any day and hour the

25   Court may fix in the defendant's absence.

26           The defendant further acknowledges being informed of the rights under Title 18 U.S.C.

27   §§ 3161-3174 (Speedy Trial Act), and authorizes the defendant's attorney to set times and dates

28   under that Act without the defendant's personal presence.

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 1           The original signed copy of this waiver is being preserved by the attorney undersigned.

 2   Dated: January 4, 2013
 3                                                By
                                                       Defendant
 4                                                     (Original retained by attorney)
 5

 6           I agree and consent to my client’s waiver of appearance.
 7   Dated: January 4, 2013
                                                  By    /s/
 8                                                     Eduardo G. Roy
                                                       DLA Piper LLP (US)
 9                                                     Attorney for Defendant
10

11
     IT IS SO ORDERED.
12
     Dated: 1/7/2013
13                                                /s/ John A. Mendez____________
                                                  United States District Court Judge
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     WEST\240233592.1     DEFENDANT’S WAIVER OF APPEARANCE 2:11- CR-00210 JAM
